              Case 2:19-bk-20088                  Doc 1     Filed 03/04/19 Entered 03/04/19 16:42:23                               Desc Main
                                                                                                                                                 3/04/19 4:40PM
                                                            Document     Page 1 of 27
Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF WEST VIRGINIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                New Trinity Coal Incorporated

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1058 MaClellans Mountain Road                                   P. O. Box 100
                                  Kincaid, WV 25119                                               Oak Hill, WV 25901
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Fayette                                                         Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Page Loadout, Kincaid, WV: Hughes Creek
                                                                                                  Loadout, Cedar Grove,
                                                                                                  WV; Falcon Resources, Van WV; Northsprigs,
                                                                                                  Gilbert, WV
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    New Trinity Coal Incorporated                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2121

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a                          Eastern District of
     separate list.                               District   Kentucky                      When       2/19/13                    Case number    5:13-bk-50364
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
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Debtor   New Trinity Coal Incorporated                                                             Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 3
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Debtor    New Trinity Coal Incorporated                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 4, 2019
                                                  MM / DD / YYYY


                             X   /s/ Gunjan Gupta                                                         Gunjan Gupta
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President and CEO




18. Signature of attorney    X   /s/ James M. Pierson                                                      Date March 4, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 James M. Pierson
                                 Printed name

                                 Pierson Legal Services
                                 Firm name

                                 5300 MacCorkle Avenue, SE
                                 P.O. Box 2291
                                 Charleston, WV 25328-1210
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     304-925-2400                  Email address      jpierson@piersonlegal.com

                                 7732 WV
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name New Trinity Coal Incorporated
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF WEST                                                                                    Check if this is an
                                                VIRGINIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Bill Miller                                                                                                                                                            $106,500.00
 Equipment Sales
 10200 Parkersburg
 Rd
 Eckhart Mines, MD
 21528
 Boone County                                                                                                                                                             $51,019.95
 Sheriff Tax Office
 200 State St.
 Madison, WV 25130
 CBIZ Valuation                                                                                                                                                           $26,119.29
 Group
 4851 LBJ Freeway
 Suite 800
 Dallas, TX 75244
 Clark Coal and Coke                                                                                                                                                      $18,735.67
 Laboratory
 1801 Route 51 South
 Building 9
 Jefferson Hills,, PA
 15025
 Compliance Mon                                                                                                                                                           $45,662.00
 Lab
 50 Caney Branch
 Road
 Chapmanville, WV
 25508
 Cramer Security                                                                                                                                                        $260,985.99
 P.O. Box 1082
 Beckley, WV 25802
 Dominion Carbon                                                                                                                                                          $27,074.36
 Sales
 12001 Ravenna
 Drive
 Chesterfield, VA
 23838



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    New Trinity Coal Incorporated                                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Doss Engineering                                                                                                                                                         $16,199.51
 2313 WOODLAND
 AVE SW
 Charleston, WV
 25303
 Elite Coal Services                                                                                                                                                      $90,615.92
 PO BOX 1025
 Summersville, WV
 26651
 Essar Global Fund                                              unperfected                                    $61,012,326.00                          $0.00        $61,012,326.00
 Limited (EGFL)                                                 blanket lien
 Essar House
 10 Frere Felix De
 Valois Street
 Port Louis,
 Mauritius
 Gallagher Coal                                                                                                                                                             $8,758.90
 Research
 PO BOX 1227
 Crab Orchard, WV
 25827
 Guardco                                                                                                                                                                $125,935.43
 PO BOX 64
 Belfry, KY 41514
 JPMORGAN CHASE                                                                                                                                                           $36,003.93
 BANK
 PO BOX 973636
 Dallas, TX 75397
 Moutain State Co                                                                                                                                                         $57,509.41
 PO BOX 0
 Hazard, KY 41701
 RT Rogers Oil Co                                                                                                                                                         $21,125.65
 Inc
 153 Grace Street
 Hinton, WV 25951
 Sheriff of Boone                                                                                                                                                         $42,273.82
 County
 200 State Street, Ste
 102
 Madison, WV 25130
 Sheriff of Mingo Co                                                                                                                                                    $457,600.34
 P.O. Box 1270
 Williamson, WV
 25661
 State of WV State                                              A State Tax Lien                                                                                        $253,618.68
 Tax Deaprtment                                                 in the amount of
 1124 Smith Street                                              $253,618.68 dated
 Charleston, WV                                                 June 15, 2017 and
 25301                                                          recorded in the
                                                                Office of the Clerk
                                                                of the County
                                                                Commission of
                                                                Kanawha County i

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    New Trinity Coal Incorporated                                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Strum                                                                                                                                                                    $71,917.25
 PO BOX 650
 Bridgeport, WV
 26330
 US Dept of the                                                                                                                                                           $12,731.59
 Interior
 Office of Surface
 Mining Reclamation
 and
 3 Parkway Center
 Pittsburgh, PA
 15220




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                         Adams Diversified Corp



                         Adams Leasing, LLC
                         PO BOX 2320
                         Pikeville, KY 41502


                         Alma Land CO. (Big Branch)



                         Alpha Land and Reserves
                         224 Virginia Avenue
                         Vinton, VA 24179


                         Alvin Stacy
                         370 Wolfpen Road
                         Ary, KY 41712


                         Amber Bishop
                         PO Box 352
                         Kistler, WV 25628


                         App River LLC
                         1101 Gulf Breeze Parkway Suite 200
                         Gulf Breeze, FL 32561


                         Art Hale
                         2941 Pennsylvania Ave
                         Charleston, WV 25302


                         ASP
                         P.O. Box 8637
                         Charleston, WV 25303


                         AT&T
                         PO Box 6463
                         Buckingham, IL 60917


                         Barbara Currier
                         159 Wonder Valley Road
                         Bristol, TN 37620
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                     Big Branch
                     PO BOX 22696
                     Lexington, KY 40522


                     Big Meadow Company
                     PO Box 748
                     Lewisburg, WV 24901


                     Bill Miller Equipment Sales
                     10200 Parkersburg Rd
                     Eckhart Mines, MD 21528


                     Boone County Sheriff Tax Office
                     200 State St.
                     Madison, WV 25130


                     Boone East Development CO



                     Brandon Dillion
                     7659 Mark Ave
                     Dayton, OH 45424


                     Brittany Lester
                     PO Box 1561
                     Oceana, WV 24870


                     C.W. Coal Sales, Inc.
                     P.O. Box 203
                     Rush, KY 41680


                     Calla Mounts
                     1970 Infinity Lane
                     Sevierville, TN 37876


                     Camillo Pulcini
                     21 Rand Drive
                     Reading, PA 19606


                     Carlos Mounts
                     PO Box 184
                     Baisden, WV 25608
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                     Caroline B. Mayes



                     Caroline B. Mays Trustee
                     3519 Mott Lane
                     Williamsburg, VA 23185


                     Caterpillar Financial
                     PO BOX 340001
                     Nashville, TN 37203


                     CBIZ Valuation Group
                     4851 LBJ Freeway
                     Suite 800
                     Dallas, TX 75244


                     CC Safety Supply, LLC
                     P.O. Box 1353
                     Saint Albans, WV 25177


                     Charles & Meta Justice
                     HC 88 Box 199A
                     Baisden, WV 25608


                     Charles and Wilma Jones
                     190 Jonestown Circle
                     Hazard, KY 41701


                     Christine Belcher
                     204 Union St
                     Bluefield, WV 24701


                     Christopher Adams Bell
                     5441 Ridge Road
                     Cortland, OH 44410


                     Christopher Stacy
                     5549 Storck Drive
                     Dayton, OH 45424


                     Clarice Beheler
                     Po Box 97
                     Gilbert, WV 25621
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                     Clark Coal and Coke Laboratory
                     1801 Route 51 South
                     Building 9
                     Jefferson Hills,, PA 15025


                     Cleo R. Grill



                     Clyde Stacy
                     2718 Hazelbrook Drive
                     Dayton, OH 45414


                     Compliance Mon Lab
                     50 Caney Branch Road
                     Chapmanville, WV 25508


                     Cornella Holland
                     242 St. Andrews Drive
                     Jackson, MS 39211


                     Cramer Security
                     P.O. Box 1082
                     Beckley, WV 25802


                     Crosiers
                     PO BOX 250
                     Lansing, WV 25862


                     CSC
                     PO BOX 13397
                     Philadelphia, PA 19101


                     CW Campbell
                     848 Fourth Ave
                     Suite 301
                     Huntington, WV 25701


                     CW Coal Sales INC
                     P.O. Box 203
                     Rush, KY 41680


                     Daisy Mitchell
                     PO BOX 272
                     Teaberry, KY 41660
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                     Darlene Long
                     2 Morris St.
                     Cartersville, GA 30120


                     David B. Spohn
                     16 fairway ridge
                     Clover, SC 29710


                     David Francis
                     PO BOX 726
                     Prestonsburg, KY 41653


                     David Francis Testamentary Trust
                     PO BOX 700
                     Prestonsburg, KY 41653


                     David Jr. Jones
                     144 Jonestown Circle
                     Hazard, KY 41701


                     Deborah Mounts



                     Dennis Dillion
                     7342 Brandt Pike
                     Dayton, OH 45424


                     DEP Div of Water and Waste Mngmt
                     PO BOX 364
                     Charleston, WV 25322


                     Dina Dillion



                     Dominion Carbon Sales
                     12001 Ravenna Drive
                     Chesterfield, VA 23838


                     Don Stacy, Trustee
                     7145 Mauford Drive
                     Dayton, OH 45424
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                     Donna and Jackie Jessie
                     HC 68 Box 7
                     Hanover, WV 24839


                     Donna J Toler
                     312 JUSTICE AVENUE
                     Logan, WV 25601


                     Doss Engineering
                     2313 WOODLAND AVE SW
                     Charleston, WV 25303


                     Drug Testing Centers of America
                     100 Lee Street W.
                     Charleston, WV 25302


                     Dyno Nobel



                     Earl Stacy
                     2282 Abbey Lane
                     Xenia, OH 45385


                     Edward G. Goodloe/ Barbara F. Goodloe



                     Edward Gayhart



                     Elaine Jolley
                     4428 San Carlos Place
                     Salt Lake City, UT 84119


                     Elite Coal Services
                     PO BOX 1025
                     Summersville, WV 26651


                     Elizabeth Evans
                     PO BOX 446
                     Urbanna, VA 23175
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                     Essar Global Fund Limited
                     Essar House
                     10 Frere Felix De Valois Street
                     Port Louis, Mauritius


                     Essar Global Fund Limited (EGFL)
                     Essar House
                     10 Frere Felix De Valois Street
                     Port Louis, Mauritius


                     Essar Minerals Canada Limited (EMCL)
                     199 Bay Street, Suite 5300
                     Commerce Court West
                     Toronto, Canada


                     Five Rs Contracting LLC



                     Floyd County Sheriff
                     PO BOX 152
                     Prestonsburg, KY 41653


                     Frederick Arnold Perry &Carol Ann Perry



                     Frontier
                     PO BOX 740407
                     Cincinnati, OH 45274


                     Gaddy Engineering Company



                     Gallagher Coal Research
                     PO BOX 1227
                     Crab Orchard, WV 25827


                     Greta Price
                     8800 Deer Plains Ways
                     Dayton, OH 45424


                     Guardco
                     PO BOX 64
                     Belfry, KY 41514
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                     H R Deitz and Assoc
                     7 Greenbrier Road
                     Summersville, WV 26651


                     Heather Bell Kane
                     5591 Hoagland Blackstub Rd
                     Cortland, OH 44410


                     Herman Company
                     8 Capitol St., Ste 600
                     Charleston, WV 25301


                     Hernshaw Partners LLC
                     PO Box 1210
                     Gilbert, WV 25621


                     Highmark Ins
                     PO BOX 382153
                     Pittsburgh, PA 15251


                     Hitachi Capital America Corp



                     J&S Land Holding LLC



                     James Lester
                     PO Box 83
                     Baisden, WV 25608


                     James S. Darlington
                     5 Virginia CT
                     Huntington, WV 25701


                     Jeanne L. Kraut/ Thomas Kraut, Trustee



                     Jennings and Janet Gaylean
                     HC 88 Box 611
                     Baisden, WV 25608


                     Jeremy Lester
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                     Jerry King
                     PO Box 858
                     Clear Fork, WV 24822


                     Jessica Lester
                     HC32 Box 217
                     War, WV 24892


                     Jevertta Jo Smith
                     25999 Matilda Ave
                     Flat Rock, MI 48134


                     JL Caldwell Co



                     John A. Goodloe JR.



                     John and Beverly Darlington
                     20604 Lomita Avenue
                     Saratoga, CA 95070


                     John D. Broadwater
                     128 Colonels Way
                     Williamsburg, VA 23185


                     John D. Broadwater Trustee



                     John E. Goodloe
                     1450 Ontario Ave
                     Pasadena, CA 91103


                     John M. Goodloe



                     John R. Miller
                     671 Western Ave
                     Glen Ellyn, IL 60137


                     Joseph Lester
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                     JPMORGAN CHASE BANK
                     PO BOX 973636
                     Dallas, TX 75397


                     Judith Smith Redner
                     5796 County Road 13
                     Ramah, CO 80832


                     Judy Ellis
                     6604 Highland Oad Dr
                     Greensboro, NC 27410


                     Julia Byrd
                     2033 Parkway Drive
                     Charleston, SC 29412


                     June Carver
                     105 Stewart Road
                     Short Hills, NJ 07078


                     Kaminski Law
                     214 Capitol Street
                     Charleston, WV 25301


                     Karen Payne
                     PO BOX 1503
                     Oak Hill, WV 25901


                     Kathy Gayhart Smith



                     Keli Vaillancourt
                     17621 Henry
                     Melvindale, MI 48122


                     Kentucky Fuel Corporation
                     PO BOX 130
                     Mousie, KY 41839


                     Kentucky River Properties
                     PO BOX 633650
                     Cincinnati, OH 45263
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                     Key Equipment Finance



                     Kim Brooks Williams
                     2416 Starfish Road
                     Virginia Beach, VA 23451


                     Komax
                     500 D STREET
                     Charleston, WV 25303


                     KRP



                     Kycoga Company



                     Lana Elizabeth Lester
                     PO Box 83
                     Baisden, WV 25608


                     Land Manager LLC
                     PO Box 891
                     Summersville, WV 26651


                     Laura Emmerling
                     106 Gristmill Lane
                     Zelienople, PA 16063


                     Laura Lindsey



                     Lexington Coal
                     200 West Vine Street
                     Lexington, KY 40507


                     Lilly Collins
                     PO Box 543
                     Gilbert, WV 25621


                     Linda and James H. Lawrence
                     37 Camelot Drive
                     Huntington, WV 25701
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                     Linda Cline
                     HC 88 Box 130B
                     Baisden, WV 25608


                     Linda Strickland
                     47 Aspen Circle
                     Bristol, VA 24201


                     Lora Lynn Cline Browning
                     2941 Pennsylvania Ave
                     Charleston, WV 25302


                     Loretta Ritchie
                     5333 Harveysburg Road
                     Waynesville, OH 45068


                     M/M-GHD Lands Inc
                     PO Box 545
                     Summersville, WV 26651


                     Mack Financial Services
                     7025 Albert Pick RD
                     Suite 105
                     Greensboro, NC 27409


                     Mack King
                     HC 68 Box 92
                     Iaeger, WV 24844


                     Marcella Sparks
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                     Louisville, KY 40216


                     Mark H. Goodloe
                     9017 Mcalpine Cove Court
                     Charlotte, NC 28270


                     Martha Perkins



                     Martin T. Goodloe
                     8075 South Rosemary Court
                     Englewood, CO 80112
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                     Mary Lou Jones
                     20 Millard Lane
                     Vest, KY 41772


                     Marylin Fain
                     HC 68 Box 96
                     Iaeger, WV 24844


                     Mathew M. Goodloe
                     7927 Greenview Terrace CT
                     Charlotte, NC 28277


                     Matthew Stacy
                     17012 Anne Street
                     Allen Park, MI 48101


                     Michael Mounts
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                     Michael Stephen Settle



                     Mingo Wyoming Coal Land CO
                     PO Box 58
                     Huntington, WV 25706


                     Mingo Wyoming Coal Land CO ET. AL.
                     PO Box 58
                     Huntington, WV 25706


                     Mountain Properties
                     122 Campbell Drive
                     Hazard, KY 41701


                     Moutain State Co
                     PO BOX 0
                     Hazard, KY 41701


                     Nancy Mounts
                     PO Box 403
                     Gilbert, WV 25621
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                     New Recources Incorporated
                     P.O. Box 100
                     Oak Hill, WV 25901


                     Norfolk Southern



                     Norfolk Southern Railway Company
                     PO BOX 116944
                     Atlanta, GA 30368


                     NRP (Operating) LLC



                     Oak Hill Garbage Disposal Inc
                     1479 Stanaford Road
                     Beckley, WV 25801


                     One Beacon Surety Group
                     Terry Dahl, VP and Surety Counsel
                     One State Street Plaza
                     31st Floor
                     New York, NY 10004


                     Pardee Minerals Inc
                     1717 Arch Street/ 33RD floor
                     Philadelphia, PA 19103


                     Patricia J. Bateman
                     2783 W Appalchian Court
                     Thousand Oaks, CA 91362


                     Paul Collins



                     Ray, Winton & Kelley PLLC
                     109 Capital Street, Suite 700
                     Charleston, WV 25301


                     Raymond Hatfield Jones
                     655 Buckskin Trail
                     Xenia, OH 45385
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                     Resources Limited, LLC
                     188 Spruce Run Road
                     Summersville, WV 26651


                     Rex and Pauline Cline



                     Richard T. Bell, JR
                     210 Cricket Lane
                     Cortland, OH 44410


                     Riverdale Commodities SA
                     Place du Molard 7-9
                     Geneva 1204 Switzerland


                     Robert Michael Bell



                     Rodney Lester
                     HC 32 Box 217
                     War, WV 24892


                     Ronnie Mounts
                     HC 71 Box 73D
                     Gilbert, WV 25621


                     Ronnie Summers



                     RT Rogers Oil Co Inc
                     153 Grace Street
                     Hinton, WV 25951


                     Russell King
                     HC 68 Box 96
                     Iaeger, WV 24844


                     Saloma Sonnpag



                     Sanford and June Jones
                     204 Bristol Drive
                     Richmond, KY 40475
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                     Sara Cooke
                     4806 Byrd Lane
                     College Grove, TN 37046


                     Sara Fowler



                     Sheriff of Boone County
                     200 State Street, Ste 102
                     Madison, WV 25130


                     Sheriff of Fayette County
                     P.O. Box 509
                     Fayetteville, WV 25840


                     Sheriff of Mingo Co
                     P.O. Box 1270
                     Williamson, WV 25661


                     Smith Thompson & Kennedy PLLC
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                     Pikeville, KY 41502


                     SNF
                     5079 North Mayo Trail
                     Pikeville, KY 41501


                     Southern Safety Inc
                     PO BOX 251
                     Sophia, WV 25921


                     Spruce Pine Land CO
                     1504 Clubside Road
                     Cleveland, OH 44124


                     State Electric Supply Co
                     PO BOX 890889
                     Charlotte, NC 28289


                     State of WV Office of Miners Health
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                     State of WV State Tax Deaprtment
                     1124 Smith Street
                     Charleston, WV 25301


                     Stephen A. Hick



                     Strum
                     PO BOX 650
                     Bridgeport, WV 26330


                     Theodore A. Smith
                     1347 N Jefferson Ave
                     Loveland, CO 80537


                     Thomas A. Smith
                     PO BOX 8606
                     Hermitage, TN 37076


                     Thomas K. Goodloe
                     1144 A Kumukumu St
                     Honolulu, HI 96825


                     Thomas L. Miller
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                     Tiffany Lester
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                     Oceana, WV 24870


                     Triple T Septic Service
                     PO BOX 548
                     Mount Nebo, WV 26679


                     Troy Dillion
                     7342 Brandt Pike
                     Dayton, OH 45424


                     US Dept of Labor Mine Safety and Health
                     105 Platinum Drive
                     Bridgeport, WV 26330
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                     US Dept of the Interior
                     Office of Surface Mining Reclamation and
                     3 Parkway Center
                     Pittsburgh, PA 15220


                     Vera Salyer
                     1953 Westmeath Place
                     Lexington, KY 40503


                     Virgina B. Hawkins
                     PO BOX 118
                     Urbanna, VA 23175


                     Western Pocahontas Properties, LP
                     5260 Irwin Road
                     Huntington, WV 25705


                     Willard and Patricia Miller



                     Willard C. Miller
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                     Alpharetta, GA 30022


                     Wilma Jean Hatfield
                     6420 Clover Brooke Drive
                     Brentwood, TN 37027


                     Woodrow Trent Trust B
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                     Iaeger, WV 24844


                     Woodrow Trent, Trust B
                     PO Box 369
                     Iaeger, WV 24844


                     WPP LLC
                     5260 IWIN ROAD
                     Huntington, WV 25705


                     WV Office of MHS&T
                     7 Players Club Drive
                     Suite 2
                     Charleston, WV 25311
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                     Zelda Walls
                     PO Box 103
                     Simon, WV 24882


                     Zsa Zsa Lolita Dillion
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                     Dayton, OH 45424
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                                                               United States Bankruptcy Court
                                                                     Southern District of West Virginia
 In re      New Trinity Coal Incorporated                                                                  Case No.
                                                                                    Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for New Trinity Coal Incorporated in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 March 4, 2019                                                          /s/ James M. Pierson
 Date                                                                   James M. Pierson
                                                                        Signature of Attorney or Litigant
                                                                        Counsel for New Trinity Coal Incorporated
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                                                                        Charleston, WV 25328-1210
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